            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 1 of 13




 1

 2

 3

 4

 5

 6
                             UNITED STATES DISTRICT COURT
 7
                          WESTERN DISTRICT OF WASHINGTON
 8

 9   MARGARITA HERNANDEZ, individually ) No.
     and as executor of the Estate of )
10   RICARDO HERNANDEZ                 )
                                       ) COMPLAINT FOR DAMAGES
11              Plaintiff,             ) (JURY DEMAND)
                                       )
12        v.                           )
     FEDERAL WAY, BLAKE LOSVAR, TANNER )
13   PAU AND SEVERAL JOHN AND JANE DOE )
     OFFICERS                          )
14                                     )
                Defendants.            )
15                                     )
                                       )
16                                     )
17

18

19                                I. INTRODUCTION

20

21        On October 8, 2016, Ricardo Hernandez was shot several times

22   and killed by two Federal Way Police Officers.     At the time of the

23   shooting, Ricardo Hernandez was approximately 23 feet away from the

24   police officers that killed him.    There were no other people in

25   close proximity to Ricardo at the time he was killed.     Ricardo

     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
     Page 1 of 13                                14205 SE 36TH STREET, SUITE 100
                                                        BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 653-1336
            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 2 of 13




1    Hernandez was not a danger to others at the time that he was shot

2    six times by the defendant officers.      At the time of his death,

3    Ricardo Hernandez was attempting to comply with law enforcement

4    commands.

5         Federal Way Police officers initially arrived at Ricardo’s home

6    as a result of a 911 call that was made by Margarita Hernandez,

7    Ricardo’s mother.      During the 911 call a variety of family members

8    made it clear that Ricardo Hernandez was experiencing some form of

9    mental health episode.      Dispatch informed the officers that were

10   responding to the home that Ricardo Hernandez was experiencing

11   mental health difficulties.      Dispatch also informed the responding

12   officers that the Hernandez family was hiding in one of the rooms in

13   the house with the door closed.      They believed that Ricardo was on

14   the other side of the door with knives.      Upon arrival, Federal Way

15   police officers were able to assist all of the family members out of

16   the home.      No one was physically injured by Ricardo Hernandez.

17        The officers were well aware and clearly informed by the

18   Hernandez family that the only person that remained in the home was

19   Ricardo Hernandez.      The family further informed law enforcement that

20   Ricardo Hernandez did not possess any firearms.

21        Several Federal Way Police Officers quickly created a perimeter

22   around the Hernandez home.       All of the Federal Way Police Officer’s

23   that were surrounding the home had their assault rifles trained at

24   the home.      None of the officers that were at the scene had a .40 mm

25   less lethal option at the time that the home was surrounded.         At no

     COMPLAINT FOR DAMAGES                             JAMES BIBLE LAW GROUP
     Page 2 of 13                                 14205 SE 36TH STREET, SUITE 100
                                                         BELLEVUE, WA 98006
                                                       Phone:(425) 519-3675
                                                        Fax: (425) 653-1336
            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 3 of 13




1    point did any Federal Way Law enforcement officers attempt to

2    contact any mental health professionals to assist with this matter.

3    No negotiators were used to communicate with Ricardo Hernandez who

4    was clearly experiencing mental health distress.     Ricardo

5    Hernandez’s uncle, who arrived at the scene, attempted to get the

6    officers to allow him to have a conversation with Ricardo.

7    Ricardo’s uncle was sure that he could have helped to relieve his

8    nephew’s anxiety.     The officers did not allow the uncle to attempt

9    to talk to Ricardo.

10        The Hernandez family could clearly see where the officers that

11   killed Ricardo Hernandez were standing at the time of the shooting.

12   Officer’s Losvar and Pau were standing with their backs near a fence

13   toward the back of the home with their riffles pointed at the back

14   porch in the minutes prior to the shooting.     Ricardo’s mother

15   personally witnessed officers Pau and Losvar fire several shots.

16        Officer’s Losvar and Pau claim that prior to the shooting

17   Ricardo Hernandez peeked out of the back door of the home.      Officer

18   Losvar claims, that at one point, he challenged Ricardo Hernandez to

19   come out of the home.     At another point, officer Losvar claims that

20   Ricardo Hernandez was standing on the back porch with two to four

21   knives in his hand.     Officers Losvar and Pau have claimed that they

22   instructed Ricardo to put the knives down on the porch.        Ricardo

23   Hernandez then placed the knives down on the porch as instructed by

24   officers.

25

     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
     Page 3 of 13                                14205 SE 36TH STREET, SUITE 100
                                                        BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 653-1336
            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 4 of 13




1          Officer’s Losvar and Pau claim that Ricardo lunged at them with

2    knives in hand.    The physical evidence does not match the claims of

3    Officer’s Losvar and Pau.     The physical evidence suggests that

4    Ricardo Hernandez was placing the knives on the porch as instructed

5    and that the majority of his body was still inside the home at the

6    time that the officers began to shoot him.

7

8                                     II.   PARTIES

9    2.1   Plaintiff Margarita Hernandez.     Margarita Hernandez is a

10         resident of King County and the mother of the decedent, Ricardo

11         Hernandez.   Margarita Hernandez is the executor of the estate

12         of Ricardo Hernandez.     Margarita Hernandez is also filing this

13         complaint in her personal capacity.

14   2.2   Defendant Blake Losvar.      Blake Losvar is a police officer

15         employed by the City of Federal Way.       At all times relevant,

16         Blake Losvar was employed as law enforcement by the Federal Way

17         Police Department and was acting within the course and scope of

18         his employment with the City of Federal Way and under color of

19         law. All Blake Losvar’s acts alleged herein were taken for

20         himself, and by and for the benefit for the City of Federal Way

21         and his marital community.

22   2.4   Defendant City of Federal Way.     Defendant City of Federal Way

23         (City) is a municipality located within the State of Washington

24         and is responsible for the actions and activities of employees

25         of the Federal Way Police Department when Federal Way Police

     COMPLAINT FOR DAMAGES                             JAMES BIBLE LAW GROUP
     Page 4 of 13                                 14205 SE 36TH STREET, SUITE 100
                                                         BELLEVUE, WA 98006
                                                       Phone:(425) 519-3675
                                                        Fax: (425) 653-1336
            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 5 of 13




 1         officers are acting within the course and scope of their

 2         employment. The civil rights violations delineated herein were

 3         proximately caused by tis customs, policies and usages.

 4   2.5   Defendant Tanner Pau.   Tanner Pau is a police officer employed

 5         by the City of Federal Way.   At all times relevant, Tanner Pau

 6         was employed as law enforcement by the Federal Way Police

 7         Department and was acting within the course and scope of his

 8         employment with the City of Federal Way and under color of law.

 9         All of Tanner Pau’s acts alleged herein were taken for himself,

10         and by and for the benefit for the City of Federal Way and his

11         marital community.

12

13

14                           III. JURISDICTION AND VENUE

15

16   3.1   Jurisdiction.   Jurisdiction in this Court is based on the

17         existence of a federal question pursuant to 28 U.S.C. Section §

18         1331 and 1343, in that Plaintiff assert claims for deprivation

19         of civil rights under 42 U.S.C. § 1983 for violation of the

20         Fourth Amendments to the United States Constitution.

21   3.2   Venue. Venue for this action is appropriate in this Court

22         because the events giving rise to the claims asserted herein

23         occurred in the Seattle Division of this district and because

24         the plaintiff and defendants reside in this district.

25

     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
     Page 5 of 13                                14205 SE 36TH STREET, SUITE 100
                                                        BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 653-1336
            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 6 of 13




 1

 2

 3

 4                                     IV.   FACTS

 5

 6   4.1   The City of Federal Way is a municipal corporation in King

 7         County Washington.     The City of Federal Way operates the

 8         Federal Way Police Department, which carries out traditional

 9         law enforcement activities in and around the City of Federal

10         Way.     The City of Federal Way employed the defendant officers

11         Losvar and Pau as Federal Way Police Officers on October 8,

12         2016.

13   4.2   On October 8, 2016, 19 year old Ricardo Hernandez was

14         experiencing a mental health crisis.         As a result of the

15         mental health crises that Ricardo Hernandez was experiencing,

16         his mother, Margarita Hernandez called 911.

17   4.3   Defendant Losvar was working as a Federal Way Police Officer on

18         October 8, 2016.     Defendant Losavar was dispatched to the home

19         that Ricardo Hernandez and his family shared. Through dispatch,

20         Defendant Losvar was informed that Ricardo Hernandez was

21         experiencing a mental health crisis and that he may be in

22         possession of knives.     Defendant losvar was also informed by

23         dispatch that the other members of the Hernandez household were

24         in a different room than Ricardo with the door closed for

25         safety.

     COMPLAINT FOR DAMAGES                                JAMES BIBLE LAW GROUP
     Page 6 of 13                                    14205 SE 36TH STREET, SUITE 100
                                                            BELLEVUE, WA 98006
                                                          Phone:(425) 519-3675
                                                           Fax: (425) 653-1336
            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 7 of 13




1    4.3   Defendant Pau was working as a Federal Way Police Officer on

2          October 8, 2016.   Defendant Pau was also dispatched to the home

3          that Ricardo Hernandez and his family shared. Through dispatch,

4          Defendant Pau was informed that Ricardo Hernandez was

5          experiencing a mental health crisis and that he may be in

6          possession of knives.   Defendant Pau was also informed by

7          dispatch that the other members of the Hernandez household were

8          in a different room than Ricardo with the door closed for

9          safety.

10   4.4   Defendant Losvar was the first Federal Way Police Officer to

11         arrive at the Hernandez home.     Upon arrival, Defendant Losvar

12         was able to assist all of the people in the Hernandez home out

13         of the house with the exception of Ricardo Hernandez.

14   4.5   Ricardo Hernandez’s family members explained to the defendant

15         officers that Ricardo was now the only person in the home.

16         Ricardo’s family further explained that Ricardo did not possess

17         any firearms.

18   4.6   Several Federal Way Police Officers arrived at the Hernandez

19         home and created a perimeter around it.

20   4.7   Several Federal Way Police Officers had their fire arms trained

21         on the Hernandez residence.     Every entrance and exit of the

22         Hernandez home was covered by a Federal Way Police Officer.

23   4.8   None of the Federal Way Police Officers that formed a perimeter

24         around the Hernandez home had a .40 mm less lethal option.

25

     COMPLAINT FOR DAMAGES                             JAMES BIBLE LAW GROUP
     Page 7 of 13                                 14205 SE 36TH STREET, SUITE 100
                                                         BELLEVUE, WA 98006
                                                       Phone:(425) 519-3675
                                                        Fax: (425) 653-1336
            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 8 of 13




1    4.9   At no point did any Federal Way Police Officer attempt to

2          contact a mental health professional to assist in addressing

3          Ricardo Hernandez’s mental health crisis.

4    4.10 The Federal Way Police department did not have anyone attempt

5          to negotiate with Ricardo Hernandez who was experiencing a

6          mental health crisis.

7    4.11 The Federal Way Police Department did not establish a line of

8          communication with Ricardo Hernandez during the time period

9          when he was alone in the home.

10   4.12 Defendants Pau and Losvar were part of the perimeter that was

11         formed around the Hernandez home.

12   4.13 Defendants Pau and Losvar had their riffles trained on the back

13         porch of the Hernandez home.

14   4.14 Margarita Hernandez, her brother and other family members that

15         lived in the home were positioned in a place where they could

16         see Defendants Pau and Losvar as their riffles were trained on

17         the back porch of the Hernandez home.

18   4.15 The Hernandez family members that could see where Defendants

19         Pau and Losvar were located at the time that the defendants

20         began to shoot at Ricardo Hernandez.

21   4.16 Prior to the shooting, Ricardo’s uncle begged the Defendant

22         Officers to give him a chance to talk to Ricardo.      Ricardo’s

23         Uncle believed that he could have helped to relieve Ricardo’s

24         anxiety.   Ricardo’s uncle did get not get the opportunity to

25         speak with Ricardo. The Defendant officers shot and killed

     COMPLAINT FOR DAMAGES                             JAMES BIBLE LAW GROUP
     Page 8 of 13                                 14205 SE 36TH STREET, SUITE 100
                                                         BELLEVUE, WA 98006
                                                       Phone:(425) 519-3675
                                                        Fax: (425) 653-1336
            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 9 of 13




1         Ricardo Hernandez within a few minutes of the family leaving

2         the home.

3    4.17 Defendant Losvar claims that Ricardo Hernandez peeked his head

4         out of the back door a couple of times during the time that he

5         had his riffle trained on the porch and back door of the home.

6         Defendant Losvar has previously indicated that he challenged

7         Ricardo Hernandez to come out of the Hernandez home.

8    4.18 Defendants Losvar and Pau claim that Ricardo Hernandez came out

9         onto the back porch with knives.    Defendants Losvar and Pau

10        also claim that they instructed Ricardo Hernandez to put the

11        knives down.   Defendants Losvar and Pau claim that Ricardo

12        Hernandez lunged at them causing them to shoot him several

13        times.

14   4.19 Margarita Hernandez watched in horror as Defendants Losvar and

15        Pau fired several shots that killed her son.

16   4.20 Defendants Losvar and Pau’s claims are inconsistent with the

17        physical evidence at the scene.    Knives that were photographed

18        on the porch appear to have been set in a very even line.

19        Clearly, if someone were shot while holding knives they would

20        not all fall in a perfect line. Further, the placement of the

21        bullets in Ricardo’s body coupled with the location of the body

22        would suggest that Ricardo Hernandez was likely closer to being

23        inside the house and was not involved in lunging at the

24        Defendants Losvar and Pau.    The bullet strikes that were on the

25        Hernandez home indicate that Ricardo was closer to being inside

     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
     Page 9 of 13                                14205 SE 36TH STREET, SUITE 100
                                                        BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 653-1336
            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 10 of 13




 1         the home rather than lunging at the defendant officers.        After

 2         Ricardo Hernandez was shot and killed, officers observed

 3         Ricardo Hernandez’s body mostly inside the home with just his

 4         feet sticking out of the doorway.    Though there were other

 5         Federal Way Officers in position to shoot at Ricardo Hernandez

 6         if he had been a danger to others,    no other Federal Way

 7         Officers other than the defendant officers fired shots at

 8         Ricardo.

 9   4.21 Members of the Hernandez family measured where Defendants Pau

10         and Losvar were standing to the door/porch where Ricardo

11         Hernandez was shot and killed.    Defendants Pau and Losvar shot

12         Ricardo Hernandez from approximately 23 Feet away.

13

14

15

16                               V. CAUSES OF ACTION

17

18   5.1   First Cause of Action.    Margarita Hernandez, the Personal

19         representative of the Estate of Ricardo Hernandez asserts all

20         available claims under 42 U.S.C. § 1983 for the deprivation of

21         Ricardo Hernandez’s constitutional rights under the Fourth

22         Amendment to the United States Constitution.

23   5.2   Second Cause of Action.   Margarita Hernandez, personally, as

24         mother of Ricardo Hernandez, possesses her own independent

25         claims under 42 § 1983 for the deprivation of the society and

     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
     Page 10 of 13                               14205 SE 36TH STREET, SUITE 100
                                                        BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 653-1336
            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 11 of 13




 1         companionship of her son in violation of the Fourteenth

 2         Amendment of the United States and asserts those claims herein

 3         on her own behalf.

 4   5.3   Third Cause of Action.   Margarita Hernandez,    the personal

 5         representative of the estate of Ricardo Hernandez asserts a

 6         claim of assault against all defendants.

 7   5.4   Fourth Cause of Action. Margarita Hernandez, the personal

 8         representative of the estate of Ricardo Hernandez asserts a

 9         claim of Negligence against all defendants.

10

11   5.5   Fifth Cause of Action.   Margarita Hernandez, the personal

12         representative of the estate of Ricard Hernandez asserts a

13         claim of for the tort of outrage against all defendants.

14         Margarita Hernandez asserts this claim personally and on behalf

15         of the estate.

16

17

18

19

20

21

22

23

24

25

     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
     Page 11 of 13                               14205 SE 36TH STREET, SUITE 100
                                                        BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 653-1336
              Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 12 of 13




 1

 2                                 VI.REQUEST FOR JURY DEMAND

 3

 4

 5           The plaintiffs formally demands that this case be heard by a

 6   jury.

 7

 8

 9   WHEREFORE, Plaintiff pray for the following relief:

10           1.   Damages and punitive damages in an amount to be proven at

11                trial.   Plaintiff seeks punitive damages against all

12                defendants;

13           2.   For reasonable attorney’s fees and costs;

14           3.   Attorneys’ fees, costs and prejudgment interest incurred

15           in pursuing this action as provided in 42 § 1988;

16           4.   Compensatory damages in an amount to be proven at trial,

17           sufficient to compensate all plaintiffs for all damages

18           including but not limited to, damages for pre-death pain and

19           suffering, damages for loss of enjoyment of life, loss of

20           3.   For such other and further relief as the Court deems just

21                and equitable.

22

23

24

25

     COMPLAINT FOR DAMAGES                              JAMES BIBLE LAW GROUP
     Page 12 of 13                                 14205 SE 36TH STREET, SUITE 100
                                                          BELLEVUE, WA 98006
                                                        Phone:(425) 519-3675
                                                         Fax: (425) 653-1336
            Case 2:18-cv-01473-BJR Document 1 Filed 10/07/18 Page 13 of 13




1

2      Dated this 7th day of October 2018,

 3

 4

 5

6                                       James Bible, WSBA # 33985
                                        Attorney for Plaintiff
 7

 8

9                                       s/Jesse Valdez
                                        Jesse Valdez, WSBA #35378
10                                      Attorney for Plaintiff

11

12
                                        s/ Leah Altaras
13                                      Leah Altaras, WSBA # 39266
                                        Attorney for Plaintiff
14

15

16

17

18

19

20

21

22

23

24

25

     COMPLAINT FOR DAMAGES                            JAMES BIBLE LAW GROUP
     Page 13 of 13                               14205 SE 36TH STREET, SUITE 100
                                                        BELLEVUE, WA 98006
                                                      Phone:(425) 519-3675
                                                       Fax: (425) 653-1336
